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Attorneys for Plaintiff


                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO



 JESSICA BOOD,
                                                                  COMPLAINT
            Plaintiff,                                         AND JURY DEMAND

 vs.                                                  Case No.

                                                      Judge:
 WALMART, INC., a Delaware corporation,

            Defendant.


           Plaintiff Jessica Bood, (“Employee”, “Plaintiff”, or “Ms. Bood”), by and through her

attorney, hereby complains against Defendant Walmart, Inc. (“Walmart” or “Defendant”), as

follows.

                               I.     PRELIMINARY STATEMENT

           1.       This suit is brought by Jessica Bood, a female employee of Walmart employed

during 1999 who was subjected to gender discrimination by Defendants in violation of Title VII




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of the Civil Rights Act of 1964, as amended and codified at 42 U.S.C. § 2000e, et seq. (“Title

VII”).

           2.       Plaintiff seeks all available remedies including damages, attorneys’ fees, costs,

and interest, and compensatory damages.

           3.       Over fifteen years ago, the Dukes v. Wal-Mart class action commenced as a

national class against Wal-Mart Stores, Inc., the largest retailer in the world and the largest

private employer in the United States. The action alleged that female employees in Wal-Mart and

Sam’s Club retail stores were discriminated against based on their gender, with respect to pay

and promotion to management track positions, in violation of Title VII.

           4.       In 2004, the United States District Court for the Northern District of California

certified a national class of female employees challenging retail store pay and management

promotion policies and practices under Fed. R. Civ. P. 23(b)(2). On June 20, 2011, the United

States Supreme Court reversed that class certification order, holding that the national class could

not be certified based on the facts in the record.

           5.       On June 24, 2011, the plaintiffs in Dukes moved to extend tolling of the statute of

limitations in the Northern District of California. On August 19, 2011, the court granted

plaintiffs’ motion in part and extended the tolling period awarded to former class members under

American Pipe and Construction Co. v. Utah, 414 U.S. 538, 554 (1974) for a limited time, and

set forth the dates by which former class members had to file Charges of Discrimination with the

Equal Employment Opportunity Commission (“EEOC”).

           6.       All former class members who had never filed an EEOC charge had until May 25,

2012, to file charges in states with 300 day limits.




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           7.    The relevant time period in this action for Plaintiff’s claims is based on the

limitations period from Dukes.

           8.    In accordance with these deadlines, Ms. Bood filed a Charge of Discrimination

with the EEOC on May 24, 2012 alleging sex discrimination.

           9.    The EEOC issued Ms. Bood’s individual right to sue notice on September 23,

2019, and Ms. Bood received the notice September 26, 2019. Ms. Bood has filed this Complaint

within the 90 days.

           10.   Ms. Bood has therefore exhausted her administrative remedies and complied with

the statutory prerequisites of Title VII by timely filing EEOC charges of discrimination.

                                          II.     PARTIES

           11.   At all times relevant to the Complaint, Ms. Bood resided in the State of Idaho, and

she was employed by Walmart at Store # 1878 in Rexburg, Idaho.

           12.   Defendant Walmart is a massive corporation, incorporated under the laws of

Delaware, operating within the State of Idaho during all times relevant to this complaint.

           13.   In February of 2018, Walmart changed its name from Wal-Mart Stores, Inc. to

Walmart, Inc.

                              III.    JURISDICTION AND VENUE

           14.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, because

Ms. Bood is bringing claims for violations of federal law.

           15.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), because all of the

employment practices alleged to be unlawful were committed within the jurisdiction of this

Court.




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                               IV.    GENERAL ALLEGATIONS

Organizational Structure and Hierarchy

           16.   In the time period relevant to this lawsuit, Walmart retail operations were divided

geographically into six Walmart divisions, each consisting of approximately six regions. Each

region was split into multiple districts. Approximately seven to ten stores were assigned to each

district.

           17.   All stores typically had the same or similar job categories, job descriptions and

management hierarchy. At the bottom of the ladder, the primary entry-level hourly positions

were Cashier, Sales Associate, and Stocker.

           18.   The first step above an entry-level job was an hourly supervisor position,

including Department Manager, Customer Service Manager and Support Manager. The next step

up was Management Trainee (“MIT”), a four-to-five-month program that prepared employees to

be Assistant Managers, a salaried position. Each store had several Assistant Managers. The next

level was Co-Manager, a position used only in larger stores, and then Store Manager.

           19.   From 1998-2004, Store Managers set pay for hourly employees following

guidelines governing compensation. Each Store Manager reported to their District Manager, and

in order to maintain a consistent administration of the pay guidelines, certain hourly pay

decisions were reviewed by the District Manager for approval. Specifically, exceptions to the

pay guidelines, as well as some actions within the Guidelines (such as setting starting pay more

than 6% above the minimum rate) were reviewed by the District Manager, who had to decide

whether or not to approve the Store Manager’s pay decision. Thus, the Store Managers received

regular feedback from the District Managers about their decision making.




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           20.   District Managers reported to the Regional Vice President (“RVP”). In addition to

the formal feedback from District Managers to Store Managers through the hourly pay exception

process, both the RVP and District Managers spent a large amount of time touring stores and

talking with the Store Managers in those stores. Similarly, the RVP held regular in-person

meetings and conference calls with all the District Managers. These regular meetings touched on

many aspects of store operations, including people issues. Thus, there was a constant stream of

communications with district and regional management that provided feedback to Store

Managers about their hourly compensation decisions and guidance about how Walmart regional

management expected them to carry out their responsibilities.

           21.   The RVP also had overall responsibility for pay increases for Assistant Managers

and had influence over promotions into MIT positions.

           22.   Each Region also had at least one Regional Personnel Manager (“RPM”), who

was responsible for promotion into the MIT program and starting pay for MIT and Assistant

Managers.

Pay Discrimination

           23.   During the relevant time period, Walmart set compensation of store-based

employees using a common set of guidelines, which Walmart’s managers applied consistently in

the store that Ms. Bood worked at, Store Number 1878. The pay guidelines established basic

standards for setting pay rates at hire and subsequent pay adjustments for hourly and salaried

employees.

           24.   From 1998 through June 2004, Walmart assigned jobs to five classes, the top two

of which were only used for a few specialty jobs. Jobs were assigned to the same class regardless

of department. Each successive job class had a higher minimum starting pay rate.



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           25.   The minimum pay levels at hire (“start rates”) for each job category were

established for Store Number 1878 with the approval of the applicable District Managers and

RVP. Thereafter, an employee’s pay level could be adjusted: (1) after an initial probationary

period; (2) if the employee was promoted to a higher job class or into management; (3) on an

annual basis, if the employee satisfied minimum performance standards; or (4) if the employee

had been awarded a special “merit” raise.

           26.   The Store Manager had the initial responsibility to set pay rates for individual

hourly employees within the pay guidelines, subject to constraints set by the District Manager

and RVP. Where a Store Manager set a pay rate above or below the pay guidelines, the rate was

called an “exception.”

           27.   The pay rate for a new employee could be set up to a maximum of $2 per hour

above the start rate, but if the new employee’s rate was more than 6% above the established start

rate for that pay class, a computer program in the payroll system would prohibit payment at this

rate unless and until the Store Manager manually entered the pay rate for that employee.

           28.   All hourly pay exceptions were automatically reported to the District Manager,

who could approve or disapprove such exceptions. The RPM was also informed of all hourly pay

exceptions and was required to ensure that hourly compensation was consistent among

employees in the Region.

           29.   In Store Number 1878, District Managers, the RPM, and the RVP regularly

received reports of all employees whose hourly pay in a job category was more than 10% below

or 5% above the average pay in that category. District Managers performed quarterly audits of

each store’s compliance with company policies and Region-specific policies, including

compensation policies, which were then reported to the RPM and RVP.



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           30.   District Managers and the RVP had ultimate authority over whether, and by how

much, to adjust the pay of hourly employees, including those employees listed on exception

reports.

           31.   In Store Number 1878, managers were not required to use job-related criteria,

such as job performance or experience, in setting, adjusting, or approving compensation for

individual employees. Managers did not document the reason for setting, adjusting, or approving

the compensation of individual employees. The RVP and District Managers did not hold the

Store Managers in Store Number 1878 accountable for the factors the Store Managers used in

making pay decisions or in ensuring those factors comported with the law, nor did they require

any documentation of the reasons for the compensation paid to individual employees. Nor did

Walmart managers specify the weight to be accorded any particular requirement in setting or

adjusting compensation.

           32.   During the relevant time period, women who held hourly positions in Store

Number 1878 were regularly paid less than similarly-situated men, although, on average, those

women had more seniority and higher performance ratings than their male counterparts. This

gender pay difference adverse to women was statistically significant in Store Number 1878, even

when nondiscriminatory objective factors, such as seniority, estimated years of work experience

prior to hire by Walmart, performance, job title, and other factors are taken into account.

           33.   Walmart’s compensation policies prior to 2005 – including its policies of using a

set of prescribed factors to set starting pay for hourly associates at a pay rate above the minimum

rate, granting discretion to Store Managers to set starting pay, permitting them to evaluate and

weight the prescribed factors as they chose, failing to require those Store Managers to document

the reasons for setting starting pay and merit increases as they did, and setting pay adjustments



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based on the associate’s prior pay – have had an adverse impact upon its female employees in

Store Number 1878 including Ms. Bood.

           34.   During the relevant time period, the RPM, RVP, and District Managers received

regular reports about compensation for hourly and salaried employees within Store Number

1878, showing that female employees were paid less than men on average. These managers

therefore had knowledge of the compensation discrimination present in the stores over which

they had authority.

Walmart Managers’ Reliance on Discriminatory Stereotypes

           35.   In the absence of job-related compensation criteria, Walmart’s managers in Store

Number 1878, and those supervising Store Number 1878, relied on discriminatory stereotypes

and biased views about women in making pay and promotion decisions.

           36.   A 1998 survey of Walmart managers revealed that there was a “good ol’ boy

philosophy” at Walmart, that many managers were “close minded” about diversity in the

workplace, and that some District Managers “don’t seem personally comfortable with women in

leadership roles.”

           37.   The findings of the 1998 survey echoed an earlier 1992 report by a group of

female Walmart management employees, who identified a number of concerns for women

employees, including the following: “Stereotypes limit the opportunities offered to women,”

“[c]areer decisions are made for associates based on gender,” “[a]ggressive women intimidate

men,” “men are interviewed as the replacements, women are viewed as support,” and “[m]en’s

informal network overlooks women.”

           38.   All Walmart Store Managers have been required to attend training programs at the

company’s Walton Institute. These managers were advised at the Institute that the reason there



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are few senior female managers at Walmart is because men were “more aggressive in achieving

those levels of responsibility” than women. Managers were cautioned that efforts to promote

women could lead to the selection of less-qualified women over more-qualified men.

           39.   On or about January 24, 2004, at a meeting of all Walmart District Managers

presided over by Walmart’s CEO Thomas Coughlin, the District Managers were told that they

were the key to running the stores: “You are the culture.” The key to success was described as

“single focus to get the job done. . . . Women tend to be better at information processing. Men

are better at focus single objective. Results driven.” The District Managers were instructed to

create a “culture of execution” and a “culture of results” as they picked “[f]uture leaders.”

           40.   In deciding which employees to promote as department managers ― hourly

positions which were often stepping stones into salaried management ― Store Managers in Store

Number 1878 would often consider women only for “female” departments, such as health and

beauty, jewelry, softlines, and the service desk.

           41.   Managers in Store Number 1878, and managers who supervised that store,

justified denying promotions to women or paying them less than their male employees because

of perceived family obligations of the women and male responsibility to support their families or

because of their presumed inability to relocate.

           42.   Furthermore, managers in Store Number 1878 – who were nearly all male –

would invite male employees to lunch or invite male associates to join managers on breaks.

Women were purposefully excluded.




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Walmart’s Ineffective Anti-Discrimination Efforts

        43.     For many years, Walmart had no meaningful policies or practices to hold

managers in, or managers supervising, Store Number 1878 accountable, financially or otherwise,

to equal employment and diversity policies and goals.

        44.     Starting in 2000, Walmart asked District Managers to set diversity “goals” for

advancement of women in management. The goals were based on each manager’s individual

views on what was attainable and were not tied to any objective measures of availability or

qualifications. Prior to 2004, failure to meet diversity goals had no financial or other

consequence for managers in, or managers supervising, Store Number 1878.

        45.     As late as 2003, Walmart CEO Coughlin was not aware of any diversity goals or

whether managers had met such goals. Many Store Managers were also unaware of the existence

of any diversity goals.

        46.     Until at least 2003, there had never been any diversity goals set for individual

stores, or for any compensation practices in Store Number 1878.

Ms. Bood’s Employment at Walmart

        47.      Wal-Mart discriminated against Ms. Bood because she is female.

        48.     Ms. Bood observed Wal-Mart pay her less than male employees who had equal or

lesser qualifications, and who worked in the same or similar positions.

        49.     Ms. Bood recalls waiting for her initial interview at the Walmart in Rexburg.

        50.     There, she overheard the hiring manager tell her male counterparts how much

they would be paid upon being hired.

        51.     During Ms. Bood’s interview, she was not informed how much she would be

making.



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          52.   After Ms. Bood was hired at the Rexburg store, she learned more about the pay of

her coworkers. She learned that Walmart was consistently paying her less than her male

counterparts.

          53.   On paydays, managers at Store Number 1878 assigned random employees to hand

out paychecks, with everyone standing around in a group waiting for their check.

          54.   Ms. Bood received this assignment and saw the checks of her co-workers.

          55.   Those paychecks showed that her male counterparts were making significantly

more than she was.

          56.   Some of the checks showed that Ms. Bood’s male co-workers who had been hired

at the same time and into the same position as Ms. Bood were making at least $1.00 more per

hour than she was.

          57.   After discovering the pay discrepancy, Ms. Bood began asking other male co-

workers how much they were making per hour.

          58.   She was upset to repeatedly hear they were all making at least $1.00 more per

hour than she was.

                                    CLAIM FOR RELIEF
                           (Pay Discrimination in Violation Title VII)

          59.   Plaintiff realleges and incorporates by reference all paragraphs set forth above.

          60.    Over a time period spanning many years, including the time Ms. Bood worked at

Walmart, the company acted with deliberate indifference toward its obligation to make job wage

decisions without regard to gender.

          61.   Walmart repeatedly chose to pay males more than females because of their

gender.

          62.   Walmart refused to pay Ms. Bood in accordance with her male counterparts.


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        63.      Walmart discriminated against Ms. Bood on the basis of gender and treated her

differently than a male employee.

        64.       As a result of the Walmart’s unlawful conduct in violation of Title VII of the

Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-2, Ms. Bood is entitled to damages,

including lost wages; compensatory damages; emotional distress damages; prejudgment interest;

and attorneys’ fees and costs expended in this action.

        65.      Walmart’s unlawful conduct toward Ms. Bood was done with reckless disregard

for her federally protected rights, and as such, Walmart should be subject to punitive damages as

well.

        WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in her favor

and against Defendants, and award the following relief:

              a. For Plaintiff’s lost wages, compensation, and benefits;

              b. For compensatory damages;

              c. For general damages including emotional distress;

              d. For punitive damages;

              e. For Plaintiff’s reasonable attorneys’ fees, including expert witness fees as

                 provided by 42 U.S.C. §1988 and 42 U.S.C. §2000e-5;

              f. For pre-judgment and post-judgment interest at the highest lawful rate; and

              g. For costs of court and such other relief as the court deems just and equitable.

            PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE.

                 Dated this 18th day of December, 2019.

                                                STRINDBERG & SCHOLNICK, LLC

                                                /s/ Kass Harstad
                                                Attorneys for Plaintiff


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